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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

WANDA KOEHN,

       Plaintiff,

v.                                                          Case No.: 8:20-cv-1830-VMC-TGW

AGAPE DIAMONDS, LLC,

       Defendant.

     DEFENDANT’S SECOND UNOPPOSED MOTION FOR EXTENSION OF TIME
      TO ANSWER OR OTHERWISE RESPOND TO PLAINTIFF’S COMPLAINT
              AND INCORPORATED MEMORANDUM OF LAW

       Defendant Agape Diamonds, LLC (“Agape”), by counsel and pursuant to Rule 6(b), Fed.

R. Civ. P., moves for entry of an order granting Agape for an additional fourteen (14) day

extension of time within which to answer or otherwise respond to Plaintiff Wanda Koehn’s

Complaint, through and including October 2, 2020, and, in support, states as follows:

                                        BACKGROUND

       Plaintiff initiated this action on August 7, 2020, by filing the Complaint. (Doc. 1).

Plaintiff’s Complaint asserts a cause of action for violation of the Americans with Disabilities

Act, 42 U.S.C. §§ 12101, et seq., and requests declaratory and injunctive relief, as well as an

award of Plaintiff’s reasonable attorneys’ fees and costs. See generally id.

       The Clerk signed, sealed, and issued a civil summons for service on Agape on August 7,

2020. (Doc. 3). Agape was served with the summons and a copy of the Complaint on August

14, 2020. Accordingly, Agape’s response to the Complaint was due on or before September 4,

2020. See Fed. R. Civ. P. 12(a)(1)(A)(i).

       On August 25, 2020, because undersigned counsel was recently retained to represent

Agape in this matter and required a short amount of additional time within which to confer with
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representatives of Agape, investigate the claims asserted in the Complaint and Agape’s potential

defenses to the same, and prepare an appropriate response to the Complaint, Agape moved,

unopposed, for a fourteen (14) day extension of time within which to answer or otherwise

respond to the Complaint, through and including September 18, 2020. (Doc. 10). The Court

granted the motion the same day. (Doc. 12).

       Subsequent to the Court’s order granting Agape’s motion for extension of time, the

parties have engaged in good faith settlement negotiations. On September 14, 2020, so that the

parties could continue to negotiate a potential early resolution of this action, undersigned counsel

sent e-mail correspondence to Plaintiff’s counsel, seeking Plaintiff’s consent to an additional

fourteen (14) day extension of time within which to respond to the Complaint, though and

including October 2, 2020. Plaintiff’s counsel responded that Plaintiff does not oppose Agape’s

request.

                                      LEGAL STANDARD

       Rule 6(b), Fed. R. Civ. P., governs the enlargement of time periods established by the

Federal Rules of Civil Procedure. The Rule provides, in relevant part, “When an act may or

must be done within a specified time, the court may, for good cause, extend the time . . . if a

request is made . . . before the original time . . . expires[.]” Fed. R. Civ. P. 6(b)(1)(A). District

courts are permitted broad discretion to grant extensions of time pursuant to Rule 6(b). See

Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 896 n.5 (1990).

                                          ARGUMENT

       This motion is made prior to the expiration of Agape’s current response deadline of

September 18, 2020, and good cause exists for Agape’s requested extension. As explained

above, the parties are currently engaging in good faith settlement negotiations. Agape would




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represent to the Court that the most efficient course would be to extend Agape’s deadline to

answer or otherwise respond to the Complaint, as doing so would be in the best interest of the

time and resources of the Court and the parties and of the just, speedy, and inexpensive

determination of the action, should the parties successfully reach an early resolution. See Fed. R.

Civ. P. 1. An extension would give the parties additional time to conclude a settlement if one is

to be had, or to notify the Court that their efforts have been unsuccessful. An extension would

not prejudice any party to this action, or negatively impact the action’s timely disposition.

       WHEREFORE, Defendant Agape Diamonds, LLC respectfully requests this Court enter

an order granting it a fourteen (14) day extension of time within which to answer or otherwise

respond to the Complaint, through and including October 2, 2020, and for any further relief this

Court deems equitable and just.

       Dated: September 14, 2020                     /s/ Ryan L. Hedstrom
                                                     Eduardo A. Suarez-Solar, Esq.
                                                     Florida Bar No. 958875
                                                     Ryan L. Hedstrom, Esq.
                                                     Florida Bar No. 124724
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                                                     Attorneys for Defendant Agape Diamonds,
                                                     LLC




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                          LOCAL RULE 3.01(g) CERTIFICATION

       I CERTIFY that I conferred with Plaintiff’s counsel in a good faith effort to resolve the

issues raised by this motion. Plaintiff does not oppose the relief sought herein.

                                                     /s/ Ryan L. Hedstrom
                                                     Ryan L. Hedstrom, Esq.




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                                CERTIFICATE OF SERVICE

          I CERTIFY that on September 14, 2020, a true and accurate copy of the foregoing was

filed with the Court via CM/ECF, which will send a notice of electronic filing to all counsel of

record.

                                                /s/ Ryan L. Hedstrom
                                                Ryan L. Hedstrom, Esq.

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